BOND NO. 612418772

IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: AKORN OPERATING COMPANY LLC
CASE NO: 23-10255-KBO

CHAPTER 7
BOND OF TRUSTEE

WE, GEORGE L. MILLER of PHILADELPHIA, PA, as principal and UNITED STATES FIRE INSURANCE
COMPANY, as surety bind ourselves to the UNITED STATES OF AMERICA in the sum of SIXTY FIVE MILLION
AND 00/100 DOLLARS ($65,000,000.00) lawful money of the United States, for the payment of which, well
and truly to be made, we bind ourselves, our heirs, executors, administrators, successors and assigns,
jointly and severally, firmly by these presents.

NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, that if the undersigned principal shall
faithfully perform his official duties as TRUSTEE for the above named debtor, then this obligation is to be
void and of no effect, otherwise to remain in full force and effect.

Any and all liability assumed by UNITED STATES FIRE INSURANCE COMPANY under this obligation shall
only be in excess of the ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00) total
cumulative liability assumed by Liberty Mutual Insurance Company under bond (#016239351). UNITED
STATES FIRE INSURANCE COMPANY shall not be liable under this bond until the ONE HUNDRED FIFTEEN
MILLION and 00/100 Dollars ($115,000,000.00) total cumulative liability assumed under (#016239351)
has been fully exhausted.

This bond shall remain in full force and effect until the Surety has terminated further liability after 30 days
written notice filed with the Clerk of the United States Bankruptcy Court for the DISTRICT OF DELAWARE
and with the U. S. Trustee, OR the Trustee obtains written authorization from the U.S. Trustee or his/her
designate releasing the surety company from any further liability under the bond. The surety shall have
no liability for any losses caused by conduct in which said named principal engaged prior to the effective
date of this bond.

DATED: June 12, 2023

GEORGE L. MILLER

PRINCIPAL 0 é
THE SUFFICIENCY OF BOND FILED

HEREIN IS APPROVED UNITED STATES -FiRE INSURANCE COMPANY

THIS_.2S_ DAY OF; DUM @ ey O |
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oe ZhZal LSthdk
_f erwin ELIZABETH SCHOTT

C————* ATTORNEY-IN-FACT
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POWER OF ATTORNEY
UNITED STATES FIRE INSURANCE COMPANY
PRINCIPAL OFFICE - MORRISTOWN, NEW JERSEY

KNOW ALL MEN BY THESE PRESENTS: That United States Fire Insurance Company, a corporation duly organized and existing under the laws of the
state of Delaware, has made, constituted and appointed, and does hereby make, constitute and appoint: Clark Fitz-Hugh; Conway C. Marshall; Sara S,
DeJarnette; Linda C. Sheffield; Catherine C, Kehoe; Stephen Beahn; Kristine Donovan; Jessica Palmeri; Elizabeth Schott; David C. Joseph; Kelli
Cross;Amanda Ried]; Andre Autin; Taylor Coss; Francesca Menard; Victoria Scruggs of International Sureties, Ltd.

each, its true and lawful Attorney(s)-In-Fact, with full power and authority hereby conferred in its name, place and stead, to execute, acknowledge and
deliver: Any and all bonds and undertakings of surety and other documents that the ordinary course of surety business may require, and to bind United States
Fire Insurance Company thereby as fully and to the same extent as if such bonds or undertakings had been duly executed and acknowledged by the

regularly clected officers of United States Fire Insurance Company at its principal office, in amounts or penalties: One Hundred Twenty Five Million
Eight Hundred Thousand Dollars ($125,800,000)

This Power of Attorney limits the act of those named therein to the bonds and undertakings specifically named therein, and they have no authority to
bind United States Fire Insurance Company except in the manner and to the extent therein stated.

This Power of Attorney revokes all previous Powers of Attorney issued on behalf of the Attorneys-In-Fact named above.

This Power of Attorney is granted pursuant to Article IV of the By-Laws of United States Fire Insurance Company as now in full force and effect,
and consistent with Article II] thereof, which Articles provide, in pertinent part:

Article IV, Execution of Instruments - Except as the Board of Directors may authorize by resolution, the Chairman of the Board, President, any Vice-
President, any Assistant Vice President, the Secretary, or any Assistant Secretary shall have power on behalf of the Corporation:

(a) to execute, affix the corporate seal manually or by facsimile to, acknowledge, verify and deliver any contracts, obligations, instruments and
documents whatsoever in connection with its business including, without limiting the foregoing, any bonds, guarantees, undertakings, recognizances,
powers of attorney or revocations of any powers of attorney, stipulations, policies of insurance, deeds, leases, mortgages, releases, satisfactions and
agency agreements;

(b) to appoint, in writing, one or more persons for any or all of the purposes mentioned in the preceding paragraph (a), including affixing the seal of the
Corporation.

Article III, Officers, Section 3.11, Facsimile Signatures. The signature of any officer authorized by the Corporation to sign any bonds, guarantees,
undertakings, recognizances, stipulations, powers of attorney or revocations of any powers of attorney and policies of insurance issued by the
Corporation may be printed, facsimile, lithographed or otherwise produced. In addition, if and as authorized by the Board of Directors, dividend
warrants or checks, or other numerous instruments similar to one another in form, may be signed by the facsimile signature or signatures, lithographed or
otherwise produced, of such officer or officers of the Corporation as from time to time may be authorized to sign such instruments on behalf of the
Corporation. The Corporation may continue to use for the purposes herein stated the facsimile signature of any person or persons who shall have been
such officer or officers of the Corporation, notwithstanding the fact that he may have ceased to be such at the time when such instruments shall be issued.

IN WITNESS WHEREOF, United States Fire Insurance Company has caused these presents to be signed and attested by its appropriate officer and

its corporate seal hereunto affixed this 28th day of September, 2021.
UNITED STATES FIRE INSURANCE COMPANY

Matthew E. Lubin, President

 

State of New Jersey}
County of Morris }

On this 28th day of September, 2021, before me, a Notary public of the State of New Jersey, came the above named officer of United States Fire
Insurance Company, to me personally known to be the individual and officer described herein, and acknowledged that he executed the foregoing
instrument and affixed the seal of United States Fire Insurance Company thereto by the authority of his office.

MELISSA H. D’ALESSIO
NOTARY PUBLIC - - JERSEY

Commission 28833 \ :

My Commission Explrea 4/7/2025 Mkt. 44 d dni

Melissa H. D’ Alessio (Notary Public)

I, the undersigned officer of United States Fire Insurance Company, a Delaware corporation, do hereby certify that the original Power of Attorney of which
the foregoing is a full, true and correct copy is still in force and effect and has not been revoked.

 

 

 

 

IN WITNESS WHEREOF, | have hereunto set my hand and affixed the corporate seal of United States Fire Insurance Company on the (Zi Bay
of j 20
oJ we u UNITED STATES FIRE INSURANCE COMPANY

Pbacl O-feng

Michael C. Fay, Senior Vice President

 

*For_verification of the authenticity of the Power of Attorney, please contact Pat Taber at 860-956-3424 or email: SuretyInquiries@amyntagroup.com

 

 
BOND NO. $U1177080

IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: AKORN OPERATING COMPANY LLC
CASE NO: 23-10255-KBO

CHAPTER 7
BOND OF TRUSTEE

WE, GEORGE L. MILLER of PHILADELPHIA, PA, as principal and ARCH INSURANCE COMPANY, as surety bind ourselves
to the UNITED STATES OF AMERICA in the sum of THIRTY FIVE MILLION AND 00/100 DOLLARS ($35,000,000.00)
lawful money of the United States, for the payment of which, well and truly to be made, we bind ourselves, our
heirs, executors, administrators, successors and assigns, jointly and severally, firmly by these presents.

NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, that if the undersigned principal shall faithfully
perform his official duties as TRUSTEE for the above named debtor, then this obligation is to be void and of no effect,
otherwise to remain in full force and effect.

Any and all liability assumed by ARCH INSURANCE COMPANY under this obligation shall only be in excess of the
Trustee’s bonds numbered (#016239351) issued by LIBERTY MUTUAL INSURANCE COMPANY as Surety in the amount
of ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00), and bond numbered (#612418772)
issued by UNITED STATES FIRE INSURANCE COMPANY in the amount of SIXTY FIVE MILLION and 00/100 Dollars
($65,000,000.00). ARCH INSURANCE COMPANY shall not be liable under this bond until the ONE HUNDRED FIFTEEN
MILLION and 00/100 Dollars ($115,000,000.00) total cumulative liability assumed under (#016239351) and the SIXTY
FIVE MILLION and 00/100 Dollars ($65,000,000.00) total cumulative liability assumed under (#612418772) have been
fully exhausted.

This bond shall remain in full force and effect until the Surety has terminated further liability after 30 days written
notice filed with the Clerk of the United States Bankruptcy Court for the DISTRICT OF DELAWARE and with the U. S.
Trustee, OR the Trustee obtains written authorization from the U.S. Trustee or his/her designate releasing the surety
company from any further liability under the bond. The surety shall have no liability for any losses caused by conduct
in which said named principal engaged prior to the effective date of this bond.

DATED: June 12, 2023

GEORGE L. MILLER

PRINCIPAL O v

ARCH INSURANCE COMPANY

Fliiby R. Schsth
THE SUFFICIENCY OF BOND FILED 1 (A JD SCOT

HEREIN IS APPROVED ELIZABET) R. SCHOTT
THISAE DAY OF_JUNE ATTORNEY-IN-FACT =. 2

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This Power of Attorney limits the acts of those named herein, and they have no authority to bind the C ompany except in the manner and to the extent herein stated.
Not valid for Note, Loan, Letter of Credit, Currency Rate, Interest Rate or Residential Value Guarantees.

POWER OF ATTORNEY
Know All Persons By These Presents:
That the Arch Insurance Company, a corporation organized and existing under the laws of the State of Missouri, having its principal administrative office in Jersey City,
New Jersey (hereinafter referred to as the "Company") does hereby appoint:

Amanda Riedl, Andre Autin, Catherine C. Kehoe, Clark P. Fitz-Hugh, Conway C. Marshall, David Joseph, Elizabeth R. Schott, Francesca Menard, Kristine
Donovan, Sara S. DeJarnette, Stephen Beahm, Taylor Coss and Victoria Scruggs of New Orleans, LA (EACH)

its true and lawful Attorney(s)in-Fact, to make, execute, seal, and deliver from the date of issuance of this power for and on its behalf as surety, and as its act and deed:
Any and all bonds, undertakings, recognizances and other surety obligations, in the penal sum not exceeding Ninety Million Dollars ($90,000,000.00).

This authority does not permit the same obligation to be split into two or more bonds In order to bring each such bond within the dollar limit of authority as set forth
herein.

The execution of such bonds, undertakings, recognizances and other surety obligations in pursuance of these presents shall be as binding upon the said Company as
fully and amply to all intents and purposes, as if the same had been duly executed and acknowledged by its regularly elected officers at its principal administrative
office in Jersey City, New Jersey.

This Power of Attorney is executed by authority of resolutions adopted by unanimous consent of the Board of Directors of the Company on December 10, 2020, true
and accurate copies of which are hereinafter set forth and are hereby certified to by the undersigned Secretary as being in full force and effect:

“VOTED, That the Chairman of the Board, the President, or the Executive Vice President, or any Senior Vice President, of the Surety Business Division, or their
appointees designated in writing and filed with the Secretary, or the Secretary shall have the power and authority to appoint agents and attorneys-in-fact, and to
authorize them subject to the limitations set forth in their respective powers of attorney, to execute on behalf of the Company, and attach the seal of the Company
thereto, bonds, undertakings, recognizances and other surety obligations obligatory in the nature thereof, and any such officers of the Company may appoint agents for
acceptance of process.”

This Power of Attorney is signed, sealed and certified by facsimile under and by authority of the following resolution adopted by the unanimous consent of the Board of
Directors of the Company on December 10, 2020:

VOTED, That the signature of the Chairman of the Board, the President, or the Executive Vice President, or any Senior Vice President, of the Surety Business
Division, or their appointees designated in writing and filed with the Secretary, and the signature of the Secretary, the seal of the Company, and certifications by the
Secretary, may be affixed by facsimile on any power of attorney or bond executed pursuant to the resolution adopted by the Board of Directors on December 10, 2020,
and any such power so executed, sealed and certified with respect to any bond or undertaking to which it is attached, shall continue to be valid and binding upon the
Company. In Testimony Whereof, the Company has caused this instrument to be signed and its corporate seal to be affixed by their authorized officers, this 3 day of
October, 2022.

Arch Insurance Company

Gt Lu

Stephen C. Ruschak, Executive Vice President

Attested and Certified

A .Gi~

Regan‘A. Shulman, Secretary
STATE OF PENNSYLVANIA SS
COUNTY OF PHILADELPHIA SS

I, Michele Tripodi, a Notary Public, do hereby certify that Regan A. Shulman and Stephen C. Ruschak personally known to me to be the same persons whose names
are respectively as Secretary and Executive Vice President of the Arch Insurance Company, a Corporation organized and existing under the laws of the State of
Missouri, subscribed to the foregoing instrument, appeared before me this day in person and severally acknowledged that they being thereunto duly authorized signed,
sealed with the corporate seal and delivered the said instrument as the free and voluntary act of said corporation and as their own free and voluntary acts for the uses and

purposes therein set forth. a
Commonweal Pennsylvania - Notasy Seal . . ¢

 

 

 

 

 

MICHELE TRIPODI, Notary Public
i couhaentpme tai sa MichkJe Teipodi, Notary Bublic
Commision Number fachees My commission expires 07/3 1/2025

 

 

 

CERTIFICATION
I, Regan A. Shulman, Secretary of the Arch Insurance Company, do hereby certify that the attached Power of Attorney dated October 3, 2022 on behalf of the
person(s) as listed above is a true and correct copy and that the same has been in full force and effect since the date thereof and is in full force and effect on the date of
this certificate; and | do further certify that the said Stephen C. Ruschak, who executed the Power of Attorney as Executive Vice President, was on the date of execution

of the attached Power of Attorney the duly elected Executive Vice President of the Arch Insurance Company. , -
IN TESTIMONY WHEREOF, | have hereunto subscribed my name and affixed the corporate seal of the Arch Insurance Company on this j2%ay ok Jur \é ;

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Regefi A. Shulman, Secretary

 

 

This Power of Attorney limits the acts of those named therein to the bonds and undertakings specifically named therein and they have no authority to bind the Company
except in the manner and to the extent herein stated.

PLEASE SEND ALL CLAIM INQUIRIES RELATING TO THIS BOND TO THE FOLLOWING ADDRESS:
Arch Insurance — Surety Division

3 Parkway, Suite 1500

Philadelphia, PA 19102

 

To verify the authenticity of this Power of Attorney, please contact Arch Insurance Company at SuretyAuthentic@archinsurance.com
Please refer to the above named Attorney-in-Fact and the details of the bond to which the power is attached.

AICPOA040120 Printed in U.S.A.
BOND NO. 1001030662

IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: AKORN OPERATING COMPANY LLC

CASE NO: 23-10255-KBO
CHAPTER 7

BOND OF TRUSTEE

WE, GEORGE L. MILLER of PHILADELPHIA, PA, as principal and U.S. SPECIALTY INSURANCE COMPANY, as surety bind
ourselves to the UNITED STATES OF AMERICA in the sum of FIFTY MILLION AND 00/100 DOLLARS ($50,000,000.00)
lawful money of the United States, for the payment of which, well and truly to be made, we bind ourselves, our
heirs, executors, administrators, successors and assigns, jointly and severally, firmly by these presents.

NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, that if the undersigned principal shall faithfully
perform his official duties as TRUSTEE for the above named debtor, then this obligation is to be void and of no effect,
otherwise to remain in full force and effect.

Any and all liability assumed by U.S. SPECIALTY INSURANCE COMPANY under this obligation shall only be in excess
of the Trustee’s bonds numbered (#016239351) issued by LIBERTY MUTUAL INSURANCE COMPANY as Surety in the
amount of ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00), and bond numbered
(#612418772) issued by UNITED STATES FIRE INSURANCE COMPANY in the amount of SIXTY FIVE MILLION and
00/100 Dollars ($65,000,000.00), and bond numbered (#SU1177080) issued by ARCH INSURANCE COMPANY in the
amount of THIRTY FIVE MILLION and 00/100 Dollars ($35,000,000.00), and bond numbered (698066) issued by
HARCO NATIONAL INSURANCE COMPANY in the amount of FIFTY MILLION and 00/100 Dollars ($50,000,000.00).
U.S. SPECIALTY INSURANCE COMPANY shall not be liable under this bond until the ONE HUNDRED FIFTEEN MILLION
and 00/100 Dollars ($115,000,000.00) total cumulative liability assumed under (#016239351) and the SIXTY FIVE
MILLION and 00/100 Dollars ($65,000,000.00) total cumulative liability assumed under (#612418772) and the THIRTY
FIVE MILLION and 00/100 Dollars ($35,000,000.00) total cumulative liability assumed under (#SU1177080) and the
FIFTY MILLION and 00/100 Dollars ($50,000,000.00) total cumulative liability assumed under (#698066) have been
fully exhausted.

This bond shall remain in full force and effect until the Surety has terminated further liability after 30 days written
notice filed with the Clerk of the United States Bankruptcy Court for the DISTRICT OF DELAWARE and with the U. S.
Trustee, OR the Trustee obtains written authorization from the U.S. Trustee or his/her designate releasing the surety

company from any further liability under the bond. The surety shall have no liability for any losses caused by conduct
in which said named principal engaged prior to the effective date of this bond.

DATED: June 12, 2023

GEORGE L. MILLER

PRINCIPAL O *
THIS G22 DAY OF_Tv#’e

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ATTORNEY-IN-FACT
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POWER OF ATTORNEY
AMERICAN CONTRACTORS INDEMNITY COMPANY TEXAS BONDING COMPANY
UNITED STATES SURETY COMPANY U.S. SPECIALTY INSURANCE COMPANY

KNOW ALL MEN BY THESE PRESENTS: That American Contractors Indemnity Company, a California corporation, Texas Bonding
Company, an assumed name of American Contractors Indemnity Company, United States Surety Company, a Maryland corporation
and U.S. Specialty Insurance Company, a Texas corporation (collectively, the “Companies”), do by these presents make, constitute
and appoint:
Andre Autin, Stephen M. Beahm, Kristine Donovan, Clark P. Fitz-Hugh, David Cleveland Joseph, Elizabeth K. Kearney,
Catherine C. Kehoe, Conway C. Marshall, Amanda Alice Ried! or Victoria Scruggs of New Orleans, Louisiana

its true and lawful Attomey(s)-in-fact, each in their separate capacity if more than one is named above, with full power and authority
hereby conferred in its name, place and Stead, to execute, acknowledge and deliver any and all bonds, recognizances,
undertakings or other instruments or contracts of Suretyship to include riders, amendments, and consents of surety,
providing the bond penalty does not exceed “Seventy Five Million****** Dollars
(_“**75,000,000.00***_). This Power of Attorney shall expire without further action on January 31%, 2024. This Power of Attorney is
granted under and by authority of the following resolutions adopted by the Boards of Directors of the Companies:

Be it Resolved, that the President, any Vice-President, any Assistant Vice-President, any Secretary or any Assistant Secretary shall be and is hereby
vested with full power and authority to appoint any one or more suitable persons as Attorney(s)-in-Fact to represent and act for and on behalf of the
Company subject to the following provisions:

Attorney-in-Fact may be given full power and authority for and in the name of and on behalf of the Company, to execute, acknowledge and deliver, any
and all bonds, recognizances, contracts, agreements or indemnity and other conditional or obligatory undertakings, including any and all consents
for the release of retained percentages and/or final estimates on engineering and construction contracts, and any and all notices and documents
canceling or terminating the Company's liability thereunder, and any such instruments so executed by any such Attorney-in-Fact shall be binding upon
the Company as if signed by the President and sealed and effected by the Corporate Secretary.

Be it Resolved, that the signature of any authorized officer and seal of the Company heretofore or hereafter affixed to any power of attorney or any
certificate relating thereto by facsimile, and any power of attorney or certificate bearing facsimile signature or facsimile seal shall be valid and binding
upon the Company with respect to any bond or undertaking to which it is attached.

IN WITNESS WHEREOF, The Companies have caused this instrument to be signed and their corporate seals to be hereto affixed, this

23" day of September, 2021.
AMERICAN CONTRACTORS INDEMNITY COMPANY TEXAS BONDING COMPANY
UNITED STATES SURETY COMPANY U.S. SPEC ALTY INSURANCE COMPANY

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Daniel P. Aguilar, Vice President

 
  

State of California

County of Los Angeles

  
 

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A Notary Public or other officer completing this certificate verifies only the identity of the individual who signed the document to
which this certificate is attached, and not the truthfulness, accuracy, or validity of that document

On this 23rd day of September, 2021, before me, D. Littlefield, a notary public, personally appeared Daniel P. Aguilar, Vice
President of American Contractors Indemnity Company, Texas Bonding Company, United States Surety Company and U.S. Specialty
Insurance Company who proved to me on the basis of Satisfactory evidence to be the person whose name is subscribed to the within
instrument and acknowledged to me that he executed the same in his authorized capacity, and that by his signature on the
instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

 

 

 

 

|_certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true and correct.

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Seah O. LITTLEFIELD
Be\ Notary Public - Caitformia
Los Angeles Coun

WITNESS my hand and official seal. a ; bs
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Fock. (seal) ee my Soom, Expires Jan 31, 2024 D>

:al
Commission # 2320307 E
Signature et |

|, Kio Lo, Assistant Secretary of American Contractors Indemnity Company, Texas Bonding Company, United States Surety
Company and U.S. Specialty Insurance Company, do hereby certify that the above and foregoing is a true and correct copy of a Power
of Attorney, executed by said Companies, which is still in full force and effect; furthermore, the resolutions of the Boards of Directors,
set out in the Power of Attomey are in full force and effect.

 

 

 

In Witness Whereof, | have hereunto set my hand and affixed the seals of said Companies at Los Angeles, California this
day of Jule 2023).

Corporate Seals
Bond No.

 

 

CO
Agency No. 16586 Kio Lo, Assistant Secretary

 

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‘i HCCSMANPOA09/2021
visit tmhcc.com/surety for more information
BOND NO. 698066

IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: AKORN OPERATING COMPANY LLC

CASE NO: 23-10255-KBO
CHAPTER 7

BOND OF TRUSTEE

WE, GEORGE L. MILLER of PHILADELPHIA, PA, as principal and HARCO NATIONAL INSURANCE COMPANY, as surety
bind ourselves to the UNITED STATES OF AMERICA in the sum of FIFTY MILLION AND 00/100 DOLLARS
($50,000,000.00) lawful money of the United States, for the payment of which, well and truly to be made, we bind
ourselves, our heirs, executors, administrators, successors and assigns, jointly and severally, firmly by these presents.

NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, that if the undersigned principal shall faithfully
perform his official duties as TRUSTEE for the above named debtor, then this obligation is to be void and of no effect,
otherwise to remain in full force and effect.

Any and all liability assumed by HARCO NATIONAL INSURANCE COMPANY under this obligation shall only be in excess
of the Trustee’s bonds numbered (#016239351) issued by LIBERTY MUTUAL INSURANCE COMPANY as Surety in the
amount of ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00), and bond numbered
(4612418772) issued by UNITED STATES FIRE INSURANCE COMPANY in the amount of SIXTY FIVE MILLION and
00/100 Dollars ($65,000,000.00), and bond numbered (#SU1177080) issued by ARCH INSURANCE COMPANY in the
amount of THIRTY FIVE MILLION and 00/100 Dollars ($35,000,000.00). HARCO NATIONAL INSURANCE COMPANY
shall not be liable under this bond until the ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00)
total cumulative liability assumed under (#016239351) and the SIXTY FIVE MILLION and 00/100 Dollars
($65,000,000.00) total cumulative liability assumed under (#612418772) and the THIRTY FIVE MILLION and 00/100
Dollars ($35,000,000.00) total cumulative liability assumed under (#SU1177080) have been fully exhausted.

This bond shall remain in full force and effect until the Surety has terminated further liability after 30 days written
notice filed with the Clerk of the United States Bankruptcy Court for the DISTRICT OF DELAWARE and with the U. S.
Trustee, OR the Trustee obtains written authorization from the U.S. Trustee or his/her designate releasing the surety
company from any further liability under the bond. The surety shall have no liability for any losses caused by conduct
in which said named principal engaged prior to the effective date of this bond.

DATED: June 12, 2023

GEORGE L. MILLER

PRINCIPAL O oc

HARCO NATIONAL ee COMPANY

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HEREIN IS APPROV D PEED ELIZABETH SCHOTT ~ cet
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POWER OF ATTORNEY sot OZ OCG
HARCO NATIONAL INSURANCE COMPANY

INTERNATIONAL FIDELITY INSURANCE COMPANY
Member companies of IAT Insurance Group, Headquartered: 4200 Six Forks Rd, Suite 1400, Raleigh, NC 27609

KNOW ALL MEN BY THESE PRESENTS: That HARCO NATIONAL INSURANCE COMPANY, a corporation organized and existing under the laws of
the State of Illinois, and INTERNATIONAL FIDELITY INSURANCE COMPANY, a corporation organized and existing under the laws of the State of New
Jersey, and having their principal offices located respectively in the cities of Rolling Meadows, Illinois and Newark, New Jersey, do hereby constitute and
appoint
SARA S. DEJARNETTE, CONWAY C. MARSHALL, STEPHEN BEAHM, ELIZABETH SCHOTT, DAVID C. JOSEPH, JESSICA PALMERI, AMANDA
RIEDL, FRANCESCA MENARD, ANDRE AUTIN, VICTORIA SCRUGGS, CLARK P. FITZ-HUGH, CATHERINE C. KEHOE, KRISTINE DONOVAN

New Orleans, LA

their true and lawful attorney(s)-in-fact to execute, seal and deliver for and on its behalf as surety, any and all bonds and undertakings, contracts of
indemnity and other writings obligatory in the nature thereof, which are or may be allowed, required or permitted by law, statute, rule, regulation, contract
or otherwise, and the execution of such instrument(s) in pursuance of these presents, shall be as binding upon the said HARCO NATIONAL
INSURANCE COMPANY and INTERNATIONAL FIDELITY INSURANCE COMPANY, as fully and amply, to all intents and purposes, as if the same had
been duly executed and acknowledged by their regularly elected officers at their principal offices.

This Power of Attorney is executed, and may be revoked, pursuant to and by authority of the By-Laws of HARCO NATIONAL INSURANCE COMPANY
and INTERNATIONAL FIDELITY INSURANCE COMPANY and is granted under and by authority of the following resolution adopted by the Board of
Directors of INTERNATIONAL FIDELITY INSURANCE COMPANY at a meeting duly held on the 13th day of December, 2018 and by the Board of
Directors of HARCO NATIONAL INSURANCE COMPANY at a meeting held on the 13th day of December, 2018.

“RESOLVED, that (1) the Chief Executive Officer, President, Executive Vice President, Senior Vice President, Vice President, or Secretary of the
Corporation shall have the power to appoint, and to revoke the appointments of, Attorneys-in-Fact or agents with power and authority as defined or limited
in their respective powers of attorney, and to execute on behalf of the Corporation and affix the Corporation's seal thereto, bonds, undertakings,
recognizances, contracts of indemnity and other written obligations in the nature thereof or related thereto; and (2) any such Officers of the Corporation
may appoint and revoke the appointments of joint-control custodians, agents for acceptance of process, and Attorneys-in-fact with authority to execute
waivers and consents on behalf of the Corporation; and (3) the signature of any such Officer of the Corporation and the Corporation's seal may be affixed
by facsimile to any power of attorney or certification given for the execution of any bond, undertaking, recognizance, contract of indemnity or other written
obligation in the nature thereof or related thereto, such signature and seals when so used whether heretofore or hereafter, being hereby adopted by the
Corporation as the original signature of such officer and the original seal of the Corporation, to be valid and binding upon the Corporation with the same
force and effect as though manually affixed.”

IN WITNESS WHEREOF, HARCO NATIONAL INSURANCE COMPANY and INTERNATIONAL
FIDELITY INSURANCE COMPANY have each executed and attested these presents

onthis 31st day of December, 2022 ceeetteny,

  

STATE OF NEW JERSEY STATE OF ILLINOIS Ss @trsarOng 4
Se o*,
County of Essex County of Cook 3: ;
to 3)

 

Kenneth Chapman ; .
Executive Vice President, Harco National Insurance Company "leeeeuess®™*
and International Fidelity Insurance Company

   

On this 31st day of December, 2022 , before me came the individual who executed the preceding instrument, to me personally known, and,
being by me duly sworn, said he is the therein described and authorized officer of HARCO NATIONAL INSURANCE COMPANY and
INTERNATIONAL FIDELITY INSURANCE COMPANY; that the seals affixed to said instrument are the Corporate Seals of said Companies; that the
said Corporate Seals and his signature were duly affixed by order of the Boards of Directors of said Companies.

SHY On, IN TESTIMONY WHEREOF, | have hereunto set my hand affixed my Official Seal, at the City of Newark,
“SSlont Ys New Jersey the day and year first above written.

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OF NeW ey Cathy Cruz a Notary Public of New Jersey
My Commission Expires April 16, 2024
CERTIFICATION

|, the undersigned officer of HARCO NATIONAL INSURANCE COMPANY and INTERNATIONAL FIDELITY INSURANCE COMPANY do hereby certify
that | have compared the foregoing copy of the Power of Attorney and affidavit, and the copy of the Sections of the By-Laws of said Companies as set
forth in said Power of Attorney, with the originals on file in the home office of said companies, and that the same are correct transcripts thereof, and of the
whole of the said originals, and that the said Power of Attorney has not been revoked and is now in full force and effect.

IN TESTIMONY WHEREOF, | have hereunto set my hand on this day,

A00586 (de

 

 

Irene Martins, Assistant Secretary
BOND NO. 5072766

IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: AKORN OPERATING COMPANY LLC
CASE NO: 23-10255-KBO

CHAPTER 7
BOND OF TRUSTEE

WE, GEORGE L. MILLER of PHILADELPHIA, PA, as principal and GREAT AMERICAN INSURANCE COMPANY, as surety
bind ourselves to the UNITED STATES OF AMERICA in the sum of EIGHTY SIX MILLION FOUR HUNDRED THOUSAND
AND 00/100 DOLLARS ($86,400,000.00) lawful money of the United States, for the payment of which, well and truly
to be made, we bind ourselves, our heirs, executors, administrators, successors and assigns, jointly and severally,
firmly by these presents.

NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, that if the undersigned principal shall faithfully
perform his official duties as TRUSTEE for the above named debtor, then this obligation is to be void and of no effect,
otherwise to remain in full force and effect.

Any and all liability assumed by GREAT AMERICAN INSURANCE COMPANY under this obligation shall only be in excess
of the Trustee’s bonds numbered (#016239351) issued by LIBERTY MUTUAL INSURANCE COMPANY as Surety in the
amount of ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00), and bond numbered
(#612418772) issued by UNITED STATES FIRE INSURANCE COMPANY in the amount of SIXTY FIVE MILLION and
00/100 Dollars ($65,000,000.00), and bond numbered (#SU1177080) issued by ARCH INSURANCE COMPANY in the
amount of THIRTY FIVE MILLION and 00/100 Dollars ($35,000,000.00), and bond numbered (698066) issued by
HARCO NATIONAL INSURANCE COMPANY in the amount of FIFTY MILLION and 00/100 Dollars ($50,000,000.00), and
bond numbered (1001030662) issued by U.S. SPECIALTY INSURANCE COMPANY in the amount of FIFTY MILLION and
00/100 Dollars ($50,000,000.00). GREAT AMERICAN INSURANCE COMPANY shall not be liable under this bond until
the ONE HUNDRED FIFTEEN MILLION and 00/100 Dollars ($115,000,000.00) total cumulative liability assumed under
(#016239351) and the SIXTY FIVE MILLION and 00/100 Dollars ($65,000,000.00) total cumulative liability assumed
under (#612418772) and the THIRTY FIVE MILLION and 00/100 Dollars ($35,000,000.00) total cumulative liability
assumed under (#$U1177080) and the FIFTY MILLION and 00/100 Dollars ($50,000,000.00) total cumulative liability
assumed under (#698066) and the FIFTY MILLION and 00/100 Dollars ($50,000,000.00) total cumulative liability
assumed under (#1001030662) have been fully exhausted.

This bond shall remain in full force and effect until the Surety has terminated further liability after 30 days written
notice filed with the Clerk of the United States Bankruptcy Court for the DISTRICT OF DELAWARE and with the U. S.
Trustee, OR the Trustee obtains written authorization from the U.S. Trustee or his/her designate releasing the surety
company from any further liability under the bond. The surety shall have no liability for any losses caused by conduct
in which said named principal engaged prior to the effective date of this bond.

DATED: June 12, 2023

GEORGE L. MILLER

PRINCIPAL 7 4s

THE SUFFICIENCY OF BOND FILED
HEREIN IS APPROVED

 

 

THIS. 2 DAY OF__2U 4, een AMERICAN INSURANCE COMPANY
Z_ 1 Goal
- a SCHOTT
Aw wd rin ye LAR 9 ATTORNEY-IN-FACT

Os. Trustee, 2
GREAT AMERICAN INSURANCE COMPANY®
Administrative Office: 301 E 4TH STREET ® CINCINNATI, OHIO 45202 © 513-369-5000 © FAX 513-723-2740

The number of persons authorized by
this power of attorney is not more than FOUR
No.0 21672
POWER OF ATTORNEY

KNOW ALL MEN BY THESE PRESENTS: That the GREAT AMERICAN INSURANCE COMPANY, a corporation organized and existing under
and by virtue of the laws of the State of Ohio, does hereby nominate, constitute and appoint the person or persons named below, each individually if more than
one is named, its true and lawful attorney-in-fact, for it and in its name, place and stead to execute on behalf of the said Company, as surety, any and all bonds,
undertakings and contracts of suretyship, or other written obligations in the nature thereof; provided that the liability of the said Company on any such bond,
undertaking or contract of suretyship executed under this authority shall not exceed the limit stated below.

Name Address Limit of Power
KRISTINE DONOVAN ALL OF ALL
ELIZABETH SCHOTT NEW ORLEANS, LOUISIANA $150,000,000

SARA DeJARNETTE
CONWAY C. MARSHALL

This Power of Attorney revokes all previous powers issued on behalf of the attorney(s)-in-fact named above.
IN WITNESS WHEREOF the GREAT AMERICAN INSURANCE COMPANY has caused these presents to be signed and attested by its appropriate

 

 

officers and its corporate seal hereunto affixed this 27TH day of JULY , 2021
Attest GREAT AMERICAN INSURANCE COMPANY
Assistant Secretary Divisional Senior Vice President
STATE OF OHIO, COUNTY OF HAMILTON - ss: MARK VICARIO (877-377-2405)
On this 27TH day of JULY » 2021 , before me personally appeared MARK VICARIO, to me known,

being duly sworn, deposes and says that he resides in Cincinnati, Ohio, that he is a Divisional Senior Vice President of the Bond Division of Great American
Insurance Company, the Company described in and which executed the above instrument; that he knows the seal of the said Company; that the seal affixed to the
said instrument is such corporate seal; that it was so affixed by authority of his office under the By-Laws of said Company, and that he signed his name thereto
by like authority.

 

SUSAN A KOHORST
Notary Public
State of Ohio
My Comm. Expires ar Wh
May 18, 2025 hata

This Power of Attorney is granted by authority of the following resolutions adopted by the Board of Directors of Great American Insurance Company
by unanimous written consent dated June 9, 2008.

RESOLVED: That the Divisional President, the several Divisional Senior Vice Presidents, Divisional Vice Presidents and Divisonal Assistant Vice
Presidents, or any one of them, be and hereby is authorized, from time to time, to appoint one or more Attorneys-in-Fact to execute on behalf of the Company,
as surety, any and all bonds, undertakings and contracts of suretyship, or other written obligations in the nature thereof: to prescribe their respective duties and
the respective limits of their authority; and to revoke any such appointment at any time.

RESOLVED FURTHER. That the Company seal and the signature of any of the aforesaid officers and any Secretary or Assistant Secretary of the
Company may be affixed by facsimile to any power of attorney or certificate of either given for the execution of any bond, undertaking, contract of suretyship,

or other written obligation in the nature thereof, such signature and seal when so used being hereby adopted by the Company as the original signature of such
officer and the original seal of the Company, to be valid and binding upon the Company with the same force and effect as though manually affixed.

CERTIFICATION

I, STEPHEN C. BERAHA, Assistant Secretary of Great American Insurance Company, do hereby certify that the foregoing Power of Attorney and
the Resolutions of the Board of Directors of June 9, 2008 have not been revoked and are now in full force and effect.

Signed and sealed this (Zin day of Us ‘ 2025 ;

Mal ¢. z

Assistant Secretary

 

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